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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

CHARLES JOHNSON,                                       )
                                                       )       Case No. 1:16-cv-07032
       Plaintiff,                                      )
                                                       )
v.                                                     )
                                                       )
COMENITY LLC,                                          )
                                                       )
       Defendant.                                      )


                    STIPULATION OF DISMISSAL WITH PREJUDICE

       Plaintiff, CHARLES JOHNSON, and Defendant, COMENITY LLC, by and through their

respective attorneys, hereby stipulate to the dismissal of the within complaint with prejudice,

pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), all matters in controversy having been resolved to the

mutual satisfaction of the parties. Each party shall bear its own costs and attorneys’ fees.

By:    /s/ David B. Levin                              By:     /s/ David J. Kaminski
       Attorney for Plaintiff                                  Attorney for Defendant
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on November 3, 2016, a copy of the foregoing Stipulation of Dismissal

With Prejudice, was filed electronically. Notice of this filing will be sent by operation of the

Court’s electronic filing system to all parties indicated on the electronic filing receipt.

                                                               /s/ David B. Levin
                                                               Attorney for Plaintiff
